      Case 8:20-cv-01320-TDC Document 84 Filed 07/01/20 Page 1 of 9



                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MARYLAND

AMERICAN COLLEGE OF
OBSTETRICIANS AND
GYNECOLOGISTS, et al.,

                  Plaintiffs,
                                          Case No. 8:20-cv-1320-TDC
           vs.

UNITED STATES FOOD AND DRUG
ADMINISTRATION, et al.,

                  Defendants.


         DEFENDANTS’ SUPPLEMENTAL BRIEF IN OPPOSITION TO
          PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
          Case 8:20-cv-01320-TDC Document 84 Filed 07/01/20 Page 2 of 9



        The Supreme Court’s recent decision in June Medical Services, LLC v. Russo, No. 18-

1323, 2020 WL 3492640 (U.S. June 29, 2020), confirms that Plaintiffs must, at a minimum,

show that the Mifeprex in-person dispensing requirement is a substantial obstacle to a large

fraction of women seeking an abortion in order to succeed on their due process claim. As

Defendants have explained, Plaintiffs have failed to do so. See Defs.’ Opp. to Pls.’ Mot. for Prel.

Inj. (“Defs.’ Opp.”) at 15-19. June Medical also does not alter the Plaintiff-providers’ lack of

third-party standing, as Plaintiffs do not allege any governmental sanction for non-compliance

with the in-person dispensing requirement and fail to show why they, rather than their patients,

are the obvious claimants here.

I.      June Medical Reaffirmed Casey’s Substantial-Obstacle Test.

        Under Casey, Plaintiffs must, at a minimum, establish that the Mifeprex in-person

dispensing requirement imposes a “substantial obstacle” to obtaining an abortion “in a large

fraction of the cases in which [the requirement] is relevant.” Planned Parenthood of Se. Penn. v.

Casey, 505 U.S. 833, 895 (1992) (joint op.); see also Whole Woman’s Health v. Hellerstedt, 136

S. Ct. 2292, 2309 (2016). As Defendants have explained, see Defs.’ Opp. at 14, in asking this

Court to preliminarily enjoin the Mifeprex in-person dispensing requirement, Plaintiffs

essentially ignore Casey’s substantial-obstacle test and instead seek to apply a free-floating cost-

benefit analysis, see Pls.’ Mem. in Supp. of Mot. for Prel. Inj. at 24-28. But all nine Justices in

June Medical emphasized the importance of demonstrating that a law poses a substantial

obstacle to abortion access in order to obtain relief, see June Medical, 2020 WL 3492640, at *4,

*7, *10, *12, *20 (plurality op.) (analyzing whether Louisiana law posed a substantial obstacle to

abortion access); id. at *23-26 (Roberts, C.J., concurring in the judgment) (same); id. at *38-39

(Alito, J., joined by Thomas, Gorsuch, and Kavanaugh, JJ., dissenting) (same), and at least five

Justices (a majority of the Court) explicitly rejected the sort of free-floating cost-benefit test that
                                                   1
          Case 8:20-cv-01320-TDC Document 84 Filed 07/01/20 Page 3 of 9



Plaintiffs advocate, see id. at *23-26 (Roberts, C.J., concurring in the judgment); id. at *38-39

(Alito, J., joined by Thomas, Gorsuch, and Kavanaugh, JJ., dissenting); id. at *63 (Kavanaugh,

J., dissenting).

        As the Chief Justice’s controlling opinion in June Medical explained, 1 “[t]he opinion in

Whole Woman’s Health began by saying” it was applying the framework set out in Casey, and

“[n]othing about Casey suggested that a weighing of costs and benefits of an abortion regulation

was a job for courts.” Id. at *24, *26 (Roberts, C.J., concurring in the judgment). “Casey

instead focuses on the existence of a substantial obstacle, the sort of inquiry familiar to judges

across a variety of contexts.” Id. at *24. In order to respect “the statement in Whole Woman’s

Health that it was applying the undue burden standard of Casey,” therefore, the Chief Justice

explained that courts must “requir[e] a substantial obstacle before striking down an abortion

regulation.” Id. at *26. Thus, to establish a likelihood of success on their due process claim,

Plaintiffs must at a minimum show that the Mifeprex in-person dispensing requirement poses a

substantial obstacle to a large fraction of women seeking an abortion. Plaintiffs have failed to

meet this standard. See Defs.’ Opp. at 15-19.




1
  As the narrowest position supporting the Court’s judgment, the Chief Justice’s concurrence in
June Medical is the controlling opinion of the Court with respect to whether establishing a
substantial obstacle is a prerequisite to obtaining relief. See Marks v. United States, 430 U.S.
188, 193 (1977); see also June Medical, 2020 WL 3492640, at *23 n.1 (Roberts, C.J., concurring
in the judgment) (describing Casey’s plurality opinion as the holding of the Court because it was
the narrowest opinion supporting the judgment). Under the Chief Justice’s opinion, a regulation
that does not create a substantial obstacle to obtaining an abortion does not violate the
Constitution.

                                                  2
          Case 8:20-cv-01320-TDC Document 84 Filed 07/01/20 Page 4 of 9



II.    June Medical Does Not Alter the Conclusion that Plaintiffs Have Failed to Show
       That the In-Person Dispensing Requirement Poses a Substantial Obstacle to a Large
       Fraction of Women Seeking an Abortion.

       For the same reasons that Plaintiffs’ reliance on Whole Woman’s Health is misplaced, see

Defs.’ Opp. at 24-25, any potential reliance Plaintiffs place on June Medical is likewise

misplaced. In June Medical, the district court found that the Louisiana law would “restrict

access to abortion in just the same way as Texas’s law, to the same degree or worse.” June

Medical, 2020 WL 3492640, at *27 (Roberts, C.J., concurring in the judgment). In particular,

the Texas law in Whole Woman’s Health would have reduced the number of abortion facilities in

the state by half, while the Louisiana law in June Medical would have “reduce[d] ‘the number of

clinics to one, or at most two,’ and the number of physicians in Louisiana to ‘one, or at most

two,’” id. at *27, and—according to the plurality opinion—would have left “thousands of

Louisiana women with no practical means of obtaining a safe, legal abortion,” id. at *19

(plurality op.). In this case, by contrast, there is no evidence that the in-person dispensing

requirement has caused, or would cause, a comparably drastic reduction in the number of

Mifeprex prescribers. Nor is there evidence that the requirement has forced, or would force,

patients to undergo a more invasive abortion procedure, much less forgo an abortion altogether.

See Defs.’ Opp. at 19-21.

       As Defendants have explained, any slight increase in risk of exposure to COVID-19

associated with a one-time visit to a doctor’s office is at most an “incidental effect” of the in-

person dispensing requirement and does not amount to a substantial obstacle. See Defs.’ Opp. at

16. Indeed, the same or similar “risk” of exposure to COVID-19 arises whenever a patient

travels outside the home, whether to go to the store, the park, or any other location. CDC

guidelines provide numerous steps patients and medical professionals can take to mitigate patient

safety concerns in light of COVID-19. See Defs.’ Opp. at 16-17. Plaintiffs have not shown that
                                                  3
            Case 8:20-cv-01320-TDC Document 84 Filed 07/01/20 Page 5 of 9



the risk of exposure to COVID-19, or any other incidental travel or expense associated with a

one-time visit to a doctor’s office, is a substantial obstacle to a large fraction of women seeking

abortion.

III.   Unlike the Admitting-Privileges Law in June Medical, the In-Person Dispensing
       Requirement Is Necessary to Ensure Patient Safety.

       Because plaintiffs are unlikely to establish that the in-person dispensing requirement

constitutes a substantial obstacle to a large fraction of patients seeking an abortion, the Court

need consider the benefits of the requirement only in determining whether FDA has a “rational

basis” to impose the requirement “in furtherance of its legitimate interests” in ensuring patient

safety. Gonzalez v. Carhart, 550 U.S. 124, 158 (2007); see June Medical, 2020 WL 3492640, at

*25 (Roberts, C.J., concurring in the judgment). The in-person dispensing requirement easily

satisfies this lenient standard. See Defs.’ Opp. at 26-30.

       In both Whole Woman’s Health and June Medical, the district courts concluded that the

admitting-privileges laws failed to advance the states’ asserted interests in promoting women’s

health and safety. See June Medical, 2020 WL 3492640, at *4, *6-7, *19-20 (plurality op.); id.

at *27-28 (Roberts, C.J., concurring in the judgment). According to those district courts, the

requirements to obtain admitting privileges at a hospital had “nothing to do with ability to

perform medical procedures,” and abortion providers were unlikely to have the number of

patients requiring hospitalization necessary to obtain or maintain such privileges. Id. at *27-28

(Roberts, C.J., concurring in the judgment) (internal quotation marks omitted).

       Here, by contrast, FDA has determined that the in-person dispensing requirement is

necessary to mitigate serious risks associated with use of Mifeprex—a determination that

Congress entrusted squarely to FDA’s special expertise and which FDA based on multiple

clinical trials and agency reviews. See Defs.’ Opp. at 22. The requirement ensures that: (1) at


                                                  4
          Case 8:20-cv-01320-TDC Document 84 Filed 07/01/20 Page 6 of 9



the time of dispensing, the patient has the opportunity to receive counseling about the risk of

serious patient complications associated with Mifeprex and what to do should they arise; and (2)

the patient does not delay picking up the prescription—or the prescription is not delayed in the

mail—before initiating an abortion, which could increase risks of serious bleeding or infection

that might require surgical intervention. See Defs.’ Opp. at 24. Dispensing the drug in

alternative settings, such as through retail or mail-order pharmacies, could expose patients to

unnecessary and increased risks resulting from delays. See Defs.’ Opp. at 22-23. Thus, FDA has

maintained the in-person dispensing requirement since it first approved Mifeprex in 2000. The

in-person dispensing requirement is therefore rationally related to FDA’s interest in ensuring

patient safety.

IV.     The Plaintiff-Prescribers Continue to Lack Third-Party Standing Following June
        Medical.

        June Medical likewise does not alter the conclusion that plaintiffs lack third-party

standing. Unlike this case, the plurality in June Medical concluded that the defendant waived its

standing argument. June Medical, 2020 WL 3492640, at *8-9 (plurality op.). Aside from this

fact, the plurality opinion also stated that the plaintiffs had third-party standing based on the

“threatened imposition of governmental sanctions for noncompliance” with the challenged

statute, and because the abortion providers in that case were “far better positioned than their

patients to address the burdens of compliance.” Id. at *10; see also id. at *26 n.4 (Roberts, C.J.,

concurring in the judgment). Neither of those features is present here. Plaintiffs do not allege

that they would face any direct governmental sanctions for any conduct they wish to engage in.

And the alleged burden in this case does not come from a regulation of physicians that patients

are unlikely to know about; to the contrary, the alleged burden exists only because patients are

told that they must visit a healthcare setting in person to obtain Mifeprex. Thus, unlike in June


                                                  5
          Case 8:20-cv-01320-TDC Document 84 Filed 07/01/20 Page 7 of 9



Medical, Plaintiffs provide no reason why they, rather than their patients, are the “obvious

claimant[s]” and the “least awkward challenger[s] . . . upon whom the challenged” in-person

dispensing requirement “imposes legal duties and disabilities.” Id. at *9 (plurality op.) (internal

quotation marks omitted). Nor have Plaintiffs established a sufficiently close relationship with

hypothetical future patients to assert those patients’ rights; indeed, the whole object of this suit is

to avoid the need for Plaintiffs to ever meet face-to-face with those hypothetical patients. See

Defs.’ Opp. at 9-10.

                                          CONCLUSION

        For the reasons discussed above and in Defendants’ prior briefing, the Court should deny

Plaintiffs’ motion for a preliminary injunction. At a minimum, any injunction should be no

broader than necessary to redress any concrete, cognizable injuries actually established by

Plaintiffs.




                                                   6
        Case 8:20-cv-01320-TDC Document 84 Filed 07/01/20 Page 8 of 9



Dated: July 1, 2020                     Respectfully submitted,


ROBERT P. CHARROW                       JOSEPH H. HUNT
General Counsel                         Assistant Attorney General
                                        Civil Division
STACY CLINE AMIN
Chief Counsel                           ETHAN P. DAVIS
Food and Drug Division                  Principal Deputy Assistant Attorney General

ANNAMARIE KEMPIC                        GUSTAV W. EYLER
Deputy Chief Counsel, Litigation        Director
                                        Consumer Protection Branch
SHOSHANA HUTCHINSON                     Civil Division
U.S. Department of
Health and Human Services               ANDREW E. CLARK
Office of the General Counsel           Assistant Director
Food and Drug Administration
10903 New Hampshire Avenue              CHRISTOPHER A. BATES
Silver Spring, MD 20993                 WILLIAM K. LANE III
                                        Counsels to the Assistant Attorney General


                                        /s/ Hilary K. Perkins
                                        HILARY K. PERKINS
                                        Trial Attorney
                                        Consumer Protection Branch
                                        Civil Division
                                        U.S. Department of Justice
                                        450 Fifth St., N.W., Suite 6400
                                        Washington, DC 20530
          Case 8:20-cv-01320-TDC Document 84 Filed 07/01/20 Page 9 of 9



                                  CERTIFICATE OF SERVICE

       I hereby certify that on this 1st day of July 2020, I electronically filed the foregoing

document with the Clerk of the Court using the CM/ECF system, which will send notification of

such filing to all counsel of record.


                                                   /s/ Hilary K. Perkins
                                                   Hilary K. Perkins
                                                   Trial Attorney
                                                   Consumer Protection Branch
                                                   U.S. Department of Justice
